Case: 1:17-Cv-08426 Document #: 13 Filed: 04/12/18 Page 1 of 2 Page|D #:62

AO 440 (Rev. 051'00) Summons in a Civi] Action

UNITED STATES DISTRICT COURT

NORTHERN DlsTRiCT oF ILLINOIS

SUMMONS IN A CIVIL CASE
Malibu Media, LLC
CASE NUMBER¢ l : l7-cv-08426
V` ASS|GNED JUDGE: Hon. Sarnuel Der~Yeghiayan
J°h“ Park DEsIGNATED
MAGISTRATE JUDGE: Honorable Young B. Kirn
TO: (Namc and address of Def`endant)
John Park

30l N Central Avenue
Wood Dale, IL 60191

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Media Litigation Firm, P.C.
Mary K. Schulz, Esq.

1144 E. State Street

Suite A260

Geneva, IL 60134

an answer to the complaint which is herewith served upon you, 21 days after service of this
summons upon you, exclusive of the day of serviceh It` you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint You must also file your answer with the Clcrk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

Q'L<'~§j» /i¢/_<’@y March 8, 2018

 

 

(By) DEPUTY CLERK DA'I'E

 

Case: 1:17-Cv-08426 Document #: 13 Filed: 04/12/18 Page 2 of 2 Page|D #:63

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RETURN OF SERVICE

 

 

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NAME OF SERVF.K

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Check ana bar below la indicate appropriate method ofservi'ee
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E{Served personally upon the defendant Ploee where served:

 

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[J chi copies thereof at the defendant'l dwelling house or usual place oi'abede with a person of suitable age and
discretion then residing lherein.

Nar¢n: of person with whom the summons md complaint wise left:

 

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JS'SW\) i`lDUi L\é? “V’\S C)\D i"t"` l'li lj§§` l§LVK L)oliL

 

 

STATEMENT OF SERVICE FEES

 

TRAVEL SBRVICES m¢\l.

 

 

 

DECI.ARATION OF SERVER

 

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